                 8:22-cr-00380-HMH           Date Filed 05/24/22     Entry Number 14              Page 1 of 1


AO 455 (Rev 01 /09) Waiver ofan Indictment


                                     UNITED STATES DISTRICT COURT
                                                          for the
                                                 District of South Carolina

                  United States of America                   )
                                V.                           )      Case No. 8:22cr380-l
                                                             )
            PHILLIP ORLANDO COLEMAN                          )
                            Defendant                        )


                                              WAIVER OF AN INDICTMENT

        I understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open cou1t of my rights and the nature of the proposed charges against me.

        After receiving this advice, I waive my right to prosecution by indictment and consent to prosecution by
information.



Date:        May~, 2022 .
                                                                               r:11h.:~
                                                                        - /,/1'--
                                                                           ~¥//7 __  --  Defendant 's signature




                                                                              _Gregory_Harri_s_,_ Strom Thurmond, Jr.
                                                                                  Printed name of defendant 's attorney




                                                                     -~-_-_U . --!~~-
                                                                                   Q\J '   Judge 's signature


                                                                    ~   Henry M. Herlong.. 1 Jr_,_Senior U.S. _[)l_strict Judge
                                                                                     Judge's printed name and title
